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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                 Plaintiff,

v.
                                                        Case No. 21-20055-01-DDC
MAURICE T. JONES (01),

            Defendant.
____________________________________

                                 MEMORANDUM AND ORDER

          This matter comes before the court on defendant Maurice T. Jones’s Motion to Dismiss

(Doc. 35). Mr. Jones asks the court to dismiss the government’s indictment against him, arguing

that the indictment stems from a racially motivated traffic stop in which Officer Matthew

DeLoux violated Mr. Jones’s Fifth Amendment right to Equal Protection. The government

disagrees. It argues that Officer DeLoux exhibited no discriminatory bias, that he merely

enforced a state law and local ordinance that bans license plate covers obscuring visibility.

          A party may bring a pre-trial motion to dismiss an indictment based on selective law

enforcement if he proves that (1) the pertinent officer acted with a discriminatory purpose and

(2) the officer’s action had a discriminatory effect. Mr. Jones has established neither. For

reasons explained below, the court denies Mr. Jones’s Motion to Dismiss (Doc. 35).

          The court recounts, below, pertinent factual background. These facts come from the

evidence presented at the February 15, 2023 and June 30, 2023 hearings, unless otherwise

noted.1



1
        At the February 15 hearing, Officer Matthew DeLoux’s patrol car’s dash camera footage was
admitted as government’s Exhibit 1. Officer DeLoux also testified. Professor Charles R. Epp testified as
an expert witness on behalf of defendant. An investigator from the Office of the Federal Public Defender,
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        I.       Factual Background

        On November 27, 2017, Lenexa Police Department Officer Matthew DeLoux pulled over

defendant Maurice T. Jones after Officer DeLoux observed Mr. Jones’s obscured license plate.

From the stop and subsequent search, Officer DeLoux discovered contraband that led to Mr.

Jones’s arrest and indictment.

        A.       The Traffic Stop

        On November 27, 2017, at 2:06 a.m., Lenexa, Kansas Police Department Officer

Matthew DeLoux pulled over a car driven by defendant Maurice T. Jones after he saw an

obscured license plate. An obscured license plate violates Lenexa Ordinance § 126.1 and Kan.

Stat. Ann. § 8-15,110. Officer DeLoux followed the car as it turned off Quivira Road onto 77th

Terrace in Lenexa, Kansas—a suburb in the Kansas City metropolitan area. Officer DeLoux

couldn’t read the license plate from within 50 feet of the car because, as he observed, one of the

lights illuminating the license plate wasn’t working, and a weathered clear cover further reduced

the plate’s visibility.2 From 77th Terrace, Officer DeLoux followed Mr. Jones’s car into the

parking lot for a small apartment complex.




Zay Thompson, and defendant’s then-girlfriend and owner of the searched car, Cherise Farr, also testified
as witnesses for defendant.
2
         Lenexa Ordinance § 126.1 makes it unlawful for “any person to attach and display on any vehicle
a license plate . . . which is covered, in whole or in part, with any clear or opaque material or any other
plastic-like material that affects the plate’s visibility or reflectivity.” Lenexa Ord. § 126.1; see also Kan.
Stat. Ann. § 8-15,110(a) (prohibiting the same).

         Officer DeLoux testified that between government’s Exhibits 14 and 15 (screenshots from his
patrol car’s dashcam), he estimated that he was about 50 feet behind the vehicle, and he could not read the
license plate.



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        B.      The Search

        After following the car into the apartment complex parking lot, Officer DeLoux turned on

his emergency lights and stopped the car driven by Mr. Jones.3 Mr. Jones pulled into a parking

spot, then got out of the car, locked it, and walked away—behavior that Officer DeLoux found

unusual. As Mr. Jones opened the door to exit his vehicle, Officer DeLoux smelled the odor of

burnt marijuana. Officer DeLoux approached Mr. Jones and asked him to return to his car. Mr.

Jones complied. Officer DeLoux then asked Mr. Jones for his name, driver’s license,

registration, and proof of insurance. Mr. Jones twice gave Officer DeLoux false names, and one

of the two names was subject to several arrest warrants. Officer DeLoux formed the belief that

Mr. Jones had provided false information about his identity, so he asked Mr. Jones to place his

keys and phone in the cupholder of the front seat’s center console and get out of the car. Again,

Mr. Jones complied. Officer DeLoux handcuffed him, patted him down for weapons, and

detained him in his patrol car. Another officer arrived on scene, and the two officers then

searched the car for the marijuana Officer DeLoux had smelled. This search discovered a Glock

handgun inside the car, and a black backpack holding a scale, plastic baggies, marijuana, and

cocaine.

        The government has charged Mr. Jones with one count of Possession with Intent to

Distribute Cocaine; one count of the Use, Carry, and Possession of a Firearm in Furtherance of a




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         When asked about government’s Exhibit 20 (another still frame from his dash cam—taken when
his police cruiser was closer to the car than Exhibits 14 and 15), Officer DeLoux testified that he still
couldn’t read the license plate. When defense counsel asked about Exhibit 21 (the closest, still frame
harvested from the dash cam’s video—within 8 to 10 feet of the car), Officer DeLoux testified that he was
no longer attempting to read, or even concerned with reading, the license plate at that point during his
encounter. Instead, the officer explained, he was concerned about how many occupants would step out of
the car he had followed and he didn’t yet know the identity or intent of the driver.


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Drug Trafficking Crime; and one count of Felon in Possession of a Firearm and Ammunition.

Doc. 1 (Indictment).

       C.        Testimony Relevant to the Selective Enforcement Claim

       At the February 15 hearing, the court received evidence relevant to defendant’s selective

enforcement claim, and his motion to discover additional evidence to support that claim. This

evidence falls into two distinct categories. First, the court heard evidence from Officer DeLoux

about the night at issue and his motivation for initiating the traffic stop. Second, the court heard

evidence from defendant’s expert witness, Professor Charles Epp. He testified about policing

and race. The court describes the relevant facts established in their testimony, below.

            1.      Officer DeLoux’s Testimony

       Officer DeLoux was patrolling the area of 79th Street and Quivira Road when he first

saw Mr. Jones’s car. He testified that he couldn’t recall specifically where he was located when

he first saw the car. Also, he couldn’t remember the direction he was travelling before he got

behind the car. Officer DeLoux agreed with defense counsel it was possible—based on the time

stamps from his dash cam showing that he had to accelerate to catch up to Mr. Jones—that he

had passed Mr. Jones on Quivira Road, or that he was on the same side of the road as Mr. Jones

and saw him as he drove past. Officer DeLoux also testified that his car’s acceleration could

mean that he travelled at a distance behind Mr. Jones and thus needed to speed up—no matter the

direction of approach. The testimony didn’t answer the question of when Officer DeLoux first

encountered Mr. Jones’s car.

       Asked to explain what it was that drew his attention to Mr. Jones’s car that night, Officer

DeLoux explained that in Lenexa, at two in the morning on a weeknight, he would get behind

any car he encountered on the road and run the license plate to check for outstanding warrants.




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He engaged in this kind of investigation because he typically didn’t see much traffic on the road

at that time of night in Lenexa. The officer recalled that there weren’t any other cars driving

around the area the night he pulled over Mr. Jones. He testified that he would follow a car at this

time of night simply because it was the only car on the road at the time.

        Officer DeLoux asserted that he didn’t pull Mr. Jones over because of his race. He

testified that when his car was within 8 to 10 feet of Mr. Jones’s car, he couldn’t determine how

many people were in the car—let alone the race of anyone in the car. He testified that he didn’t

determine the race of Mr. Jones until Mr. Jones stopped and got out of his car after parking it in

the apartment parking lot. When asked directly if he decided to stop this car because the person

inside was White or Black, Officer DeLoux answered no.

        Officer DeLoux estimated that he has conducted thousands of traffic stops in his career as

a patrol officer. He has conducted other traffic stops because of obstructed or obscured license

plates, and some of those stops included cars with clear license plate covers. In his experience,

it’s very difficult to read license plates through clear covers. He testified that his traffic stop of

Mr. Jones was no different than any other stop he has conducted for a suspected license plate

obstruction because of a clear cover.

            2.      Professor Epp’s Testimony

        The court now summarizes the testimony of defendant’s expert witness, Professor

Charles Epp. Professor Epp has authored numerous books and articles about policing and racial

profiling. He has conducted research about policing and race in the Kansas City area. Professor

Epp conducted a study in the Kansas City metro area where he surveyed 2,346 drivers. That

study found that drivers in the Kansas City metro experience two different types of police stops:

(1) a stop to sanction unsafe driving behavior—a “traffic safety stop;” or (2) a stop to check out




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the driver—an “investigatory stop.” Professor Epp’s study found no significant racial disparity

for traffic safety stops, but he did find a significant racial disparity for investigatory stops. This

study found that in the Kansas City area, officers stopped Black drivers nearly three times as

often as White drivers for investigatory stops. Professor Epp hypothesized that because officers

exercise more discretion when conducting investigatory stops, they stop more Black drivers

because of their own implicit biases or stereotypes.

        The study also found a greater racial disparity in stops occurring in Kansas City’s suburbs

as compared to the core city. And Professor Epp testified Lenexa fits the description of a Kansas

City suburb. He testified that many studies across the United States have replicated his study

and reached the same results—racial disparities concentrated in investigatory stops.

        Professor Epp testified that, to determine whether Officer DeLoux had stopped Mr. Jones

because of his race, it would help to have data about the stops Officer DeLoux has made over a

period of several years. Ideally, this information would include the race of the driver for each

stop, the reason given for the stop, whether the officer had issued a citation, and whether he had

conducted a search after the stop. That data could help to place the traffic stop of Mr. Jones in

November 2017 in context, showing how Officer DeLoux has conducted traffic stops over the

past few years. To put it simply, defendant’s requested discovery sought an answer to this

question: Does Officer DeLoux’s record show a pattern of over-selecting Black drivers for

traffic stops? Professor Epp hypothesized that records for Officer DeLoux’s stops from March

2016 to March 2018 would reveal patterns of racial disparity. He based this opinion on past

evidence, past results in other locations, and the results of his study about the Kansas City area

generally.




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       During Officer DeLoux’s time at the Lenexa Police Department, he conducted 2,223

stops. Out of those 2,223 stops, he issued 598 citations. Professor Epp testified that Officer

DeLoux’s 27% citation rate indicates that he tended to conduct more investigatory stops than the

average officer. Based on his research of investigatory stops, Professor Epp opined that an

investigatory stop often is based on race.

       Finally, Professor Epp testified that the make and the model of a car also could contribute

to patterns of racial disparity in investigatory stops. Police officers, he opined, select older

domestic luxury cars—such as Cadillacs and Lincolns—at a higher rate than other cars for

investigatory stops. Professor Epp opined that social science literature about cultural stereotypes

supports an inference that Black people drive older, domestic luxury cars more frequently than

White people. Unlike the professor’s other opinions, this premise—that Black people are more

likely to drive older, domestic luxury cars—wasn’t based on data he had collected. Thus,

Professor Epp concluded, officers may use car type as a proxy for race, to identify and select

Black drivers for investigatory stops. He testified that the car involved in this case’s stop—a

2002 Lincoln LS—fits into the proxy category of older, domestic luxury cars.

       Next, the court briefly summarizes the relevant procedural posture to provide context and

a backdrop for its analysis.

II.    Procedural Background

       Mr. Jones’s Motion to Dismiss cannot succeed because it relies on the same evidence that

the court has already decided doesn’t satisfy Mr. Jones’s evidentiary burden. See Doc. 68 at 17–

23 (1st Mot. Suppress Mem. & Order) (denying Mr. Jones’s Motion for Additional Discovery).

Mr. Jones contemporaneously filed a Motion for Additional Discovery (Doc. 36) with his

Motion to Dismiss, requesting information relevant to the Motion to Dismiss. The court denied




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Mr. Jones’s Motion for Additional Discovery because he didn’t meet the threshold burden

established by Circuit precedent, i.e., one requiring defendant to produce “‘some evidence’ of

both discriminatory effect and discriminatory intent.” United States v. Alcaraz-Arellano, 441

F.3d 1252, 1264 (10th Cir. 2006) (quoting United States v. Armstrong, 517 U.S. 456, 470

(1996)); Doc. 68 at 18 (1st Mot. Suppress Mem. & Order).

       Mr. Jones also filed two Motions to Suppress. Doc. 34; Doc. 72. The first one (Doc. 34)

sought to suppress evidence found following the traffic stop. Mr. Jones argued that officers had

collected the evidence against him during an unreasonable search and seizure. On February 15,

2023, the court conducted an evidentiary hearing where the parties presented evidence relevant

to this first suppression motion and the motion seeking additional discovery. The court heard

testimony from Officer DeLoux and Professor Charles Epp, recounted above. Doc. 68 at 8–9

(1st Mot. Suppress Mem. & Order). Based on the evidence presented, the court denied Mr.

Jones’s first Motion to Suppress. The court found that Officer DeLoux reasonably had stopped

Mr. Jones and possessed probable cause to search Mr. Jones’s car. Id. at 13–16. The court also

denied Mr. Jones’s Motion for Additional Discovery because he had adduced no evidence of

discriminatory intent. Id. at 18.

       Mr. Jones’s second Motion to Suppress (Doc. 72), also sought to suppress evidence

officers discovered in his vehicle following the traffic stop. This motion contended that because

Mr. Jones had parked his car on the curtilage of the apartment complex where he stayed—and

because officers lacked a search warrant—officers unreasonably searched and seized evidence

from his car. Doc. 82 at 2–3 (2nd Mot. Suppress Mem. & Order). On June 30, 2023, the court

heard additional evidence during a second evidentiary hearing on the second Motion to Suppress

(Doc. 72). Id. at 1. The court held that Mr. Jones didn’t have a reasonable expectation of




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privacy because the apartment complex’s shared parking lot wasn’t curtilage. Id. at 14. It

reasoned that the lot was visible and accessible from a public road. Id.

       Mr. Jones’s Motion to Dismiss (Doc. 35) hinged on the court granting the Motion for

Additional Discovery (Doc. 36) because Officer DeLoux’s traffic stop reports—defendant

contends—potentially would’ve helped Mr. Jones establish discriminatory intent, a necessary

element of his Equal Protection Clause violation claim. Armstrong, 517 U.S. at 465. Absent

additional discovery, the pending Motion to Dismiss relies on the facts in Mr. Jones’s second

Motion to Suppress (Doc. 72). Given the court’s ruling denying Mr. Jones’s Motion for

Additional Discovery, it concluded the Motion to Dismiss was ripe for ruling and determined

that the United States needn’t file a response.

       Below, the court now assesses Mr. Jones’s arguments in support of his Motion to

Dismiss. This analysis begins with the governing legal standard.

III.   Legal Standard

       Mr. Jones, a Black person, asks the court to dismiss his indictment because Officer

DeLoux, a White person, stopped him “based on his race and subject[ed him] to selective

enforcement of” Lenexa Ordinance § 126.1 and Kan. Stat. Ann. § 8-15,110, violating his Fifth

Amendment right to Equal Protection. Doc. 35 (Mot. Dismiss). The government counters,

contending that Officer DeLoux stopped Mr. Jones for a legitimate reason: Mr. Jones’s license

plate wasn’t visible, thus violating Lenexa Ordinance § 126.1 and Kan. Stat. Ann. § 8-15,110.

Also, the government contends, Officer DeLoux couldn’t have pulled Mr. Jones over based on

his race because he didn’t know Mr. Jones’s race until well after he had decided to stop the car

he was driving, i.e., when Mr. Jones got out of his car at the apartment complex.




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       The “Constitution prohibits selective enforcement of the law based on considerations

such as race.” Whren v. United States, 517 U.S. 806, 813 (1996). Specifically, the Fifth

Amendment prohibits the federal government from discriminatory law enforcement. Wayte v.

United States, 470 U.S. 598, 608–09 n.9 (1985). “Racially selective law enforcement violates

this nation’s constitutional values at the most fundamental level; indeed, unequal application of

criminal law to white and black persons was one of the central evils addressed by the framers of

the Fourteenth Amendment.” Marshall v. Columbia Lea Reg’l Hosp., 345 F.3d 1157, 1167 (10th

Cir. 2003).

       A defendant may move to dismiss based on discriminatory actions by a law enforcement

officer or a prosecutor. See Alcaraz-Arellano, 441 F.3d at 1264; see also United States v.

Griffith, 928 F.3d 855, 866–67 (10th Cir. 2019). The standard applying to prosecutors and the

one applying to officers share substantial common ground. In its seminal decision in Armstrong,

the Supreme Court outlined a two-element test a person must establish to prevail on a selective-

prosecution claim: the “claimant must demonstrate that the federal prosecutorial policy [1] had a

discriminatory effect and [2] that it was motivated by a discriminatory purpose.” 517 U.S. at 465

(citation and internal quotations omitted). As our Circuit has explained, a “selective-

enforcement claim requires essentially the same showing.” Griffith, 928 F.3d at 866.

       Principles of federalism and separation of powers counsel the court to pause before

deciding a selective-prosecution claim. Both the Supreme Court and our Circuit emphasize that

both selective prosecution and selective enforcement claims face a “demanding” standard of

proof. Armstrong, 517 U.S. at 463; Alcaraz-Arellano, 441 F.3d at 1264. A “selective

prosecution claimant” asks the judiciary, in effect, “to exercise judicial power over a ‘special

province’ of the Executive.” Armstrong, 517 U.S. at 464. Such judicial review could “chill law




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enforcement by subjecting the prosecution’s motives and decisionmaking to outside inquiry,”

and thus “may undermine prosecutorial effectiveness.” Id. at 465 (citation and internal quotation

marks omitted). The Tenth Circuit has concluded that “[s]imilar caution is required” for claims

of selective law enforcement. Alcaraz-Arellano, 441 F.3d at 1264. This is so, the Circuit

reasoned, because “[e]xecutive-branch officials possess broad discretion in determining when to

make a traffic stop or an arrest.” Id. (citing Marshall, 345 F.3d at 1167). So, bottom line, “the

standard for proving a selective-enforcement claim should be, as with selective-prosecution

claims, ‘a demanding one.’” Id. at 1267 (quoting Marshal, 345 F.3d at 1167).

   IV.      Analysis

         The court now turns to Mr. Jones’s arguments. The court evaluates his arguments and

decides whether Mr. Jones has satisfied both prongs of the Armstrong test, as required for a

selective enforcement motion.

            A.      Discriminatory Effect

         A defendant has two options for showing discriminatory effect: he may find a similarly-

situated individual or use statistical evidence of similarly-situated individuals. For the first

option, a defendant can “make a credible showing that a similarly-situated individual of another

race could have been prosecuted for that offense for which the defendant was charged, but was

not.” United States v. James, 257 F.3d 1173, 1179 (10th Cir. 2001) (citing Armstrong, 517 U.S.

at 465). “In the context of a challenged traffic stop, however, imposing the similarly-situated

requirement makes the selective enforcement claim impossible to prove.” United States v. Mesa-

Roche, 288 F. Supp. 2d 1172, 1186 (D. Kan. 2003). The similarly-situated individual

requirement “would require the defendant to make a credible showing that a similarly situated

individual was not stopped by the law enforcement.” Id. (emphasis in original). Even with




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additional discovery, a defendant would struggle to make this showing because law enforcement

agencies “cannot record any, much less all pertinent information on the dozens, hundreds, or

even thousands of motorists who are not stopped within a patrolling officer’s given space and

time.” Id. at 1187. Given these challenges, the “Tenth Circuit has indicated that a defendant can

demonstrate discriminatory effect by either showing a similarly situated individual, or by relying

on statistical evidence.” Id. (emphasis in original) (citing Marshall, 345 F.3d at 1167). Here,

Mr. Jones relies on statistical evidence.

       The Supreme Court long has considered statistical evidence in the discrimination context.

See, e.g., Yick Wo v. Hopkins, 118 U.S. 356, 374 (1886) (finding illegal discrimination violating

the Fourteenth Amendment where government denied applications from all 200 Chinese-owned

businesses, but 80 other non-Chinese owned businesses were “permitted to carry on the same

business under similar conditions”). But, a “defendant cannot satisfy the discriminatory effect

prong by providing statistical evidence which simply shows that the challenged government

action tends to affect one particular group.” James, 257 F.3d at 1179. “Rather, the proffered

statistics must address the critical issue of whether that particular group was treated differently

than a similarly-situated group.” Id. Our Circuit provides that statistical evidence in selective

enforcement cases must include:

       (1) “a reliable measure of the demographics of the relevant population,”

       (2) “a means of telling whether the data represent similarly situated individuals,” and

       (3) “a point of comparison to the actual incidence of crime among different racial or
           ethnic segments of the population.”

Marshall, 345 F.3d at 1168 (internal citations omitted); see also United States v. Alabi, 597 F.

App’x 991, 997 (10th Cir. 2015).




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       For example, in Armstrong the Supreme Court addressed a study concluding that 100%

of the crack cocaine cases handled by the Los Angeles Federal Public Defender’s office in 1991

had Black defendants. 517 U.S. at 459. The Court held that this study failed to show

discriminatory effect because it didn’t identify non-Black people whom the government could’ve

prosecuted for crack cocaine offenses but didn’t. Id. at 470.

       In United States v. Mesa-Roche, Judge Robinson of our court addressed a similar

situation to Mr. Jones’s case: a traffic stop based on a state traffic law violation that, defendant

argued, was really an improper, racially-motivated stop. 288 F. Supp. 2d at 1176, 1179. Judge

Robinson rejected one set of data offered by the defendant, but found another persuasive.

       The defendant proffered statistical evidence that the law enforcement officer in question,

Deputy Schneider, “initiated traffic stops that were on average: 56.59% are white motorists;

33.69% are Hispanic motorists; and 9.72% are black motorists.” Id. at 1179. Other officers who

patrolled different parts of the county “initiated traffic stops that were on average: 90.27% white

motorists; 5.57% Hispanic motorists; and 4.6% black motorists.” Id. Judge Robinson found this

comparison data unpersuasive because this difference—33.69% versus 5.57% stops of Hispanic

motorists—could come from the different populations that officers encountered. Id. That is,

Deputy Schneider patrolled Interstate 70 “almost exclusively,” so “the transient motorist

population he encounter[ed] [was] quite different form the population encountered by his fellow

officers who patrol in the city and county of Russell, but not on I-70.” Id.

       In contrast, Judge Robinson concluded that a study about other traffic stops on Interstate

70 provided a better comparison. This study showed that the Kansas Highway Patrol patrolling

Interstate 70 made “traffic stops that [were] on average: 6.8% Hispanic motorists and 5.7%

black motorists.” Id. Judge Robinson emphasized the “significant difference in stops that are




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6.8% Hispanic motorists and stops that are 33.69% Hispanic motorists, which cannot be

explained by any significant difference in the transient motorist population encountered by

Kansas Highway Patrol troopers” and Deputy Schneider. Id. While Judge Robinson

acknowledged some problems with the study’s methodology, id. at 1189, she nonetheless held

that the defendant had established discriminatory effect because “the comparison of Deputy

Schneider’s incidence of stops with the incidence of stops by Kansas Highway Patrol still

constitute[d] a strong showing of discriminatory effect.” Id. at 1190. Judge Robinson’s

thoughtful analysis demonstrates the kinds of statistical evidence that can—and cannot—show

discriminatory effect in the traffic stop context.

       Here, Mr. Jones also relies on statistical evidence to support his claim that Officer

DeLoux racially discriminated against him. Doc. 35 at 5–6 (Mot. Dismiss). Using statistics

from the United States Census Bureau and Lenexa Police Department’s 2016–20 FBI report, Mr.

Jones compares the racial make-up of Lenexa, Kansas, to the racial make-up of the Lenexa

Police Department’s reported arrests. Id. He concludes that Lenexa police officers arrest Black

(or African American) people at 500% the expected rate of arrest given their proportion in the

population. Id. He further asserts that the Lenexa Police Department’s policing patterns “have a

discriminatory effect on people of color—including Mr. Jones.” Id.

       This statistical evidence doesn’t provide “a means of telling whether the data represent

similarly situated individuals[.]” Marshall, 345 F.3d at 1168. Instead, Mr. Jones’s data

addresses a different form of government action than the action challenged by Mr. Jones. His

data about the rate at which the Lenexa Police Department arrests Black people in Lenexa

doesn’t represent other individuals who were pulled over. Mr. Jones argues that Officer DeLoux

discriminated against him based on his race when Officer DeLoux pulled him over, not when




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Officer DeLoux arrested him. In contrast, the defendant in Mesa-Roche proffered traffic stop

data specific to the highways that the deputy patrolled. 288 F. Supp. 2d at 1190. This allowed

Judge Robinson to compare apples-to-apples, because she could compare the deputy’s stop rate

of Hispanic drivers with the general stop rate of Hispanic drivers using the same population of

motorists. Here, the court can’t conduct a similar apples-to-apples comparison. In sum, Mr.

Jones also fails to proffer “a point of comparison to the actual incident of crime among different

racial or ethnic segments of the population.” Marshall, 345 F.3d at 1168. He has failed to

demonstrate that all drivers of all races use obscured license plates with the same frequency.

See, e.g., Alabi, 597 F. App’x at 997 (finding defendant failed to demonstrate discriminatory

effect with statistical evidence because he “failed to demonstrate drivers of different races speed

with the same frequency”); see also Armstrong, 517 U.S. at 469 (rejecting presumption that

people of all races commit all types of crime with equal frequency). Without any point of

comparison, the court can’t say whether Mr. Jones and other Black people were treated

differently than other groups.

              B.    Discriminatory Purpose

        Because Mr. Jones failed to establish a discriminatory effect, the court “need not address

whether the evidence [Mr. Jones] presented satisfied the discriminatory-intent prong.” United

States v. Deberry, 430 F.3d 1294, 1301 (10th Cir. 2005). But out of caution, the court

nonetheless addresses the discriminatory purpose prong, the second half of Armstrong’s two-part

test. The court concludes that, even if Mr. Jones had satisfied Armstrong’s discriminatory effect

prong, he still couldn’t prevail because he hasn’t satisfied the discriminatory purpose prong of

the test.




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       Armstrong’s “discriminatory-purpose element requires a showing that discriminatory

intent was a motivating factor in the decision to enforce the criminal law against the defendant.”

Alcaraz-Arellano, 441 F.3d at 1264 (citation and internal quotations omitted). To demonstrate

discriminatory purpose, a defendant must show that an officer’s discretion in enforcing “traffic

laws against him ‘was invidious or in bad faith and was based on impermissible considerations

such as . . . the desire to prevent the exercise of constitutional rights.’” Mesa-Roche, 288 F.

Supp. 2d at 1192 (quoting United States v. Salazar, F.2d 1482, 1487 (10th Cir. 1983)). The

officer must’ve chosen “a particular course of action at least in part because of, not merely in

spite of, its effects upon an identifiable group.” Id. (citation and internal quotation marks

omitted). A defendant can show discriminatory purpose through “either direct or circumstantial

evidence.” Deberry, 430 F.3d at1299 (citing Batson v. Kentucky, 476 U.S. 79, 93 (1986)).

       Absent direct evidence of discriminatory treatment, defendants often rely on statistical

evidence to prove discriminatory intent. Chavez v. Ill. State Police, 251 F.3d 612, 638–40 (7th

Cir. 2001). An “officer’s pattern of traffic stops and arrests, his questions and statements to the

person involved, and other relevant circumstances may support an inference of discriminatory

purpose in this context.” Marshall, 345 F.3d at 1168. But “a defendant cannot meet his burden

by generic statistical evidence.” Alcaraz-Arellano, 302 F. Supp. 2d 1217 (D. Kan. 2004) (citing

James, 257 F.3d at 1179), aff’d, 441 F.3d 1252, 1227 (10th Cir. 2006); see also Mesa-Roche,

288 F. Supp. 2d at 1196. To “prevail under the Equal Protection Clause, [defendant] must prove

that the decisionmakers in his case acted with discriminatory purpose.” McCleskey v. Kemp, 481

U.S. 279, 292–93 (1987) (emphasis in original). A defendant may struggle to meet Armstrong’s

“demanding standard” when the defendant can’t prove that the officer knew the movant’s race

before initiating the stop. Alcaraz-Arellano, 302 F. Supp. 2d at 1234 (“Without proof of the




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officer’s knowledge of a driver’s race, an intent to discriminate against a driver because of his

race can rarely, if ever, be shown.”).

       In the discriminatory purpose analysis, statistical evidence must meet a higher threshold.

It’s much harder for statistics to show discriminatory purpose than it is for discriminatory effect.

Mesa-Roche, 288 F. Supp. 2d at 1193–94 (“[I]n the context of constitutional claims under the

Equal Protection Clause, the proponent cannot rely solely on statistical evidence as he may rely

[on] to show discriminatory effect or impact.”). For example, in Mesa-Roche, Judge Robinson

concluded that a study showed discriminatory effect, but held that the same study failed to

establish discriminatory purpose. Id. at 1194–95 (“[T]he disparity that establishes discriminatory

effect, does not establish that the discriminatory effect of Deputy Schneider’s conduct was itself

the product of discriminatory intent.”). Judge Robinson explained that the study showed a

correlation between the race of the motorist and traffic stops, but it failed to show causation. Id.

at 1195. The study thus failed to show discriminatory purpose because, to “show intent, one

must show causality.” Id.

       The court has visited this issue before. In its Memorandum and Order (Doc. 68) denying

Mr. Jones’s first Motion to Suppress and Request for Additional Discovery, the court closely

analyzed whether Mr. Jones had shown discriminatory purpose. It concluded that Mr. Jones

adduced no evidence of discriminatory purpose. Doc. 68 at 18, 19 (1st Mot. Suppress Mem. &

Order). The court revisits that conclusion here because the same standards apply to Mr. Jones’s

Motion to Dismiss (Doc. 35). Mr. Jones didn’t meet the burden required for additional

discovery, and he’s adduced no new evidence since. The court again concludes that Mr. Jones

failed to carry his burden to show discriminatory purpose. The court explains this conclusion,

below, beginning with direct evidence of discrimination.




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       There’s no direct evidence that would support an inference that Officer DeLoux pulled

Mr. Jones over because of his race. Officer DeLoux testified credibly that he didn’t know Mr.

Jones’s race before deciding to stop Mr. Jones. The tinted windows on Mr. Jones’s car and the

lighting conditions at 2:00 a.m.—it was dark—support this testimony. And while Officer

DeLoux couldn’t recall if he had passed Mr. Jones’s car before he began following it, the court is

unpersuaded that this unknown offsets the officer’s testimony. Racial animus thus couldn’t have

served as a “motivating factor” in Officer DeLoux’s decision to enforce the license plate

visibility law against Mr. Jones. Alcaraz-Arellano, 441 F.3d at 1264; id. at 1265 (concluding

defendant fails Armstrong’s discriminatory purpose prong when the district court found that the

officer decided to stop defendant before knowing his ethnicity); United States v. Montes, 280 F.

App’x 784, 788 (10th Cir. 2008) (affirming the district court’s holding that an officer didn’t act

with discriminatory purpose when the defendant’s tinted windows prevented the officer from

seeing defendant’s race before initiating the stop).

       Without evidence specific to his traffic stop, that leaves Mr. Jones’s statistical evidence.

Mr. Jones relies on Professor Epp’s testimony and affidavit to support his two discriminatory

purpose arguments: (1) Officer DeLoux might’ve seen Mr. Jones’s car before the traffic stop

and determined his race; and (2) Officer DeLoux inferred Mr. Jones’s race from the type of car

Mr. Jones drove. The court already has rejected the first argument, above, concluding that

Officer DeLoux didn’t know Mr. Jones’s race before he pulled Mr. Jones over. The second

argument relies on Professor Epp’s study, which the court considers now.

       The Supreme Court and Tenth Circuit have held that a movant can’t satisfy Armstrong’s

discriminatory purpose element with general statistical evidence. McCleskey, 481 U.S. at 293

(declining to infer discriminatory purpose when defendant relied on a study to prove




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discriminatory intent, rather than providing evidence about “decisionmakers in his case”);

Alcaraz-Arellano, 441 F.3d at 1265 (declining to infer discriminatory purpose when defendant

relied merely on statistics showing officer’s stops targeted a disproportionate percentage of

Hispanic drivers); Mesa-Roche, 288 F. Supp. 2d at 1194 ( “[I]n the context of constitutional

claims under the Equal Protection Clause, the proponent cannot rely solely on statistical

evidence[.]”). Professor Epp’s study contradicts this principle. Professor Epp opined that

Officer DeLoux could’ve used Mr. Jones’s car—an older, domestic luxury vehicle—as a proxy

to draw an inference about Mr. Jones’s race. Professor Epp relied on statistics (showing that

officers stopped older, domestic luxury cars at higher rates) and general social science literature

(more Black drivers drive those type of cars) to support his proxy theory. Mr. Jones thus relies

on Professor Epp’s general hypothesis without any link to Officer DeLoux’s record. Professor

Epp didn’t base either hypothesis on evidence particular to Officer DeLoux from the officer’s

testimony, the records Mr. Jones has received, or from any footage or report of Officer DeLoux’s

stop of Mr. Jones. The court declines “to do that which higher courts have already refused to do,

infer discriminatory intent from the statistical evidence.” Id. at 1193.

       In any event, Mr. Jones’s counsel acknowledged that Mr. Jones’s general evidence can’t

carry the day. Recall that defendant filed a Motion for Additional Discovery (Doc. 36)

concurrently with this Motion to Dismiss (Doc. 35). At the June 30, 2023, hearing, Mr. Jones’s

counsel recognized—as he must—that he viewed additional discovery as necessary to further his

argument on the Motion to Dismiss (Doc. 35). Mr. Jones failed to make the prima facie showing

necessary to secure additional discovery, so, naturally, his Motion to Dismiss fails, as well.

       For these reasons, the court finds defendant has failed to carry his hefty burden to show

discriminatory purpose. The court thus denies Mr. Jones’s Motion to Dismiss.




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   V.      Conclusion

        For these reasons, the court denies Mr. Jones’s Motion to Dismiss (Doc. 35).

        THEREFORE, IT IS HEREBY ORDERED BY THE COURT THAT defendant’s

Motion to Dismiss (Doc. 35) is denied.

        IT IS SO ORDERED.

        Dated this 6th day of October, 2023, at Kansas City, Kansas.


                                                    s/ Daniel D. Crabtree
                                                    Daniel D. Crabtree
                                                    United States District Judge




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